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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION
 THOMAS GROSS, on behalf of  )
                             )
 himself and on behalf of all others
 similarly situated,         )
                             )
             Plaintiff,      )
                                                    CIVIL ACTION NO.
                             )
 v.                          )
                                                    8:17-CV-01920-CEH-TGW
                             )
 ADVANCED DISPOSAL SERVICES, )
 INC.,                       )
                             )
             Defendant.      )

         DEFENDANT ADVANCED DISPOSAL SERVICES, INC.’S
     REPLY BRIEF IN SUPPORT OF ITS MOTION FOR JUDGMENT ON
                         THE PLEADINGS

           Defendant Advanced Disposal Services, Inc. (“Defendant” or “ADS”) offers

 this reply brief in support of its Motion for Judgment on the Pleadings (Doc. 36):

                                 I. INTRODUCTION
           As an initial matter, Plaintiff’s Opposition to ADS’s Motion for Judgment

 on the Pleadings (Doc. 43), when read together with his pending Motion for Class

 Certification (Doc. 37), demonstrates why Rule 23 class certification is improper

 here. Plaintiff argues in his Opposition he has standing to pursue his claims in

 Counts I and II because he was “confused” by ADS’s disclosure and authorization

 form, but he ignores in his Motion for Class Certification the individualized

 inquiry that alleged confusion would be necessitate to determine whether putative


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 class members were similarly confused and instead focuses only on the alleged

 existence of technical Fair Credit Reporting Act (“FCRA”) violations. Plaintiff

 cannot have it both ways.

           Setting aside Plaintiff’s inconsistent and incompatible positions, Counts I, II,

 and portions of Count III are due to be dismissed because Plaintiff has not

 demonstrated he has standing to pursue his claims.              Furthermore, Plaintiff’s

 conclusory contentions that ADS’s disclosure and authorization form contained

 unlawful “extraneous” information is unsupported by the law. Finally, even if

 some technical FCRA violation did occur, Plaintiff cannot make the required

 showing of willfulness to pursue statutory penalties here. Therefore, dismissal of

 Counts I, II, and portions of Count III with prejudice is appropriate.

                                      II. ARGUMENT

           A.    Plaintiff’s Contradictory and Incompatible Positions Foreclose
                 His Rule 23 Class Claims.
           Plaintiff’s allegations that he was “confused” by ADS’s FCRA disclosure

 and authorization form render Rule 23 class certification improper. In apparent

 recognition that bare procedural violations are not enough to establish standing

 under the FCRA, Plaintiff contends in his Opposition to Defendant’s Motion for

 Judgment on the Pleadings that ADS’s FCRA disclosure and authorization form

 “confused” him. See Doc. 43, p. 1-2, 10, 12. In his Motion for Class Certification,

 however, Plaintiff did not contend that he or anyone else was confused and instead


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 focused only on alleged technical violations of the FCRA. See Doc. 37. The

 reason is obvious: If Plaintiff has standing to pursue his claims in this action

 because he was “confused” by ADS’s FCRA disclosure and authorization form,

 individualized inquires will be necessary to determine whether each other putative

 class member1 was confused.2

           Plaintiff cannot have it both ways. He cannot claim he has standing based

 on his individual circumstances (“confusion”) and then ask the Court to ignore that

 allegation and certify nationwide classes of ADS applicants and employees based

 on alleged FCRA technical and procedural violations. Plaintiff has offered no

 evidence whatsoever to even suggest other class members were similarly

 “confused.”       In contrast, ADS has offered testimony from 10 putative class

 members that they understood ADS’s disclosure and authorization form and were

 not “confused,” and, thus, did not suffer any harm sufficient to confer standing. See

 Docs. 50-50-12. Clearly, an individualized inquiry will be required into each

 1
   Plaintiff’s Opposition contains a strange argument titled “The Adverse Action Class Members Have
 Standing,” which refers to ADS by the wrong acronym and discusses positions ADS has not taken. See
 Doc. 43, p. 15-16. ADS assumes that the argument is a cut-and-paste from another FCRA case.
 Regardless, each individual Rule 23 plaintiff must have standing to pursue FCRA claims, which requires
 individualized inquiries to determine whether each class member was similarly “confused” and suffered a
 “concrete” and “particularized” harm. See Denney v. Deutsche Bank AG, 443 F.3d 253, 263-64 (2d Cir.
 2006) (“[N]o class may be certified that contains members lacking Article III standing.”); Avritt v.
 Reliastar Life Ins. Co., 615 F.3d 1023, 1034 (8th Cir. 2010) (“A class ‘must therefore be defined in such a
 way that anyone within it would have standing.’ Or, to put it another way, a named plaintiff cannot
 represent a class of persons who lack the ability to bring a suit themselves.”)
 2
   Branch v. Gov’t Employees Ins. Co., 323 F.R.D. 539, 551–52 (E.D. Va. 2018) (court found no standing
 because “an FCRA violation does not necessarily cause an injury in fact” and “the possibility that some
 class members did not suffer injuries causes individual injury issues to predominate”).


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 putative class member’s understanding of the disclosure and authorization form.

 Therefore, Plaintiff’s “confusion” allegations, while insufficient to even confer

 standing on him individually, certainly foreclose Rule 23 class certification.

           II.     Plaintiff Lacks Standing to Bring Some of His Claims.

           Plaintiff fails to demonstrate he has standing to pursue his FCRA claims.3

 Contrary to Plaintiff’s contention that standing to bring suit under the FCRA exists

 whenever a consumer does not receive a proper stand-alone disclosure, the U.S.

 Supreme Court has held that standing requires a “concrete” and “particularized”

 injury and that “[a] violation of one of the FCRA’s procedural requirements may

 result in no harm.”4

           Following Spokeo, several circuit courts and the vast majority of district

 courts have held that merely asserting procedural violations of the FCRA without

 actual harm is not enough to establish standing.5 Indeed, the Eleventh Circuit in

 Nicklaw v. CitiMortgage, Inc., 839 F.3d 998 (11th Cir. 2016), recently held that an

 individual lacked Article III standing to pursue a procedural claim under New

 York state law because he did not suffer an actual injury. In support of the

 Eleventh Circuit’s decision to deny an en banc rehearing, Judges William Pryor

 3
   Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (a plaintiff carries the burden to show standing);
 Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 102-04 (1998).
 4
     Spokeo, 136 S. Ct. at 1550 (emphasis added).
 5
  See Doc. 36, fn. 9-14, 17; see also Groshek v. Time Warner Cable, Inc., 865 F.3d 884, 888 (7th Cir.
 2017); Dreher v. Experian Information Solutions, Inc., 856 F.3d 337, 340 (4th Cir. 2017).


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 and Stanley Marcus confirmed that the Court’s reasoning in Nicklaw would also

 apply to the FCRA:

                       The New York statutes are more like the statute at issue
                       in Spokeo, the Fair Credit Reporting Act, 15 U.S.C. §
                       1681 et seq., which required that credit reporting
                       agencies “’follow reasonable procedures to assure
                       maximum possible accuracy of’ consumer reports.”
                       Spokeo, 136 S. Ct. at 1545 (quoting 15 U.S.C. §
                       1681e(b)).6

 Therefore, non-compliance with the statute’s procedural requirements does not

 necessarily create a “harm or present any material risk of harm,” and a plaintiff

 must allege that the violation “had harmed him in the past or put him at risk of any

 future harm.”7

           Plaintiff’s reliance on Perry v. Cable News Network, Inc., 854 F.3d 1336

 (11th Cir. 2017) and Palm Beach Golf Center-Boca, Inc. v. Sarris, 781 F.3d 1245,

 1251 (11th Cir. 2015), is misguided. Unlike here, the Perry Court considered

 standing to sue under the Video Privacy Protection Act, which is a statute that

 “creates a cause of action for ‘[a]ny person aggrieved by an act of a person in

 violation of this section.’” 854 F.3d at 1340. The FCRA does not contain similar

 language, which is why the Supreme Court in Spokeo found that “[a] violation of

 one of the FCRA’s procedural requirements may result in no harm.” Spokeo, 136

 S. Ct. at 1550 (emphasis added). Moreover, the Palm Beach Golf Center-Boca,
 6
     Nicklaw v. CitiMortgage, Inc., 855 F.3d 1265, 1266 (11th Cir. 2017).
 7
     Id. at 1267-68.


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 Inc. decision was decided under the Telephone Consumer Protection Act prior to

 the Spokeo decision. 781 F.3d 1245.

           Plaintiff’s “confusion” allegations, alone, do not make this more than a mere

 procedural violation argument and are not enough to confer standing. Plaintiff

 does not allege he would have acted any differently had he not been “confused.”

 Nor does Plaintiff claim he actually relied on any alleged “extraneous” information

 in ADS’s disclosure form. Plaintiff’s cookie-cutter affidavit claiming confusion

 proves nothing and certainly does not show actionable harm. Because Plaintiff

 cannot demonstrate standing to pursue his claims in Counts I, II, and portions of

 Count III, the claims should be dismissed with prejudice.

           III.   The Disclosure Form Was Not Unlawful.

           Plaintiff contends that ADS’s FCRA disclosure and authorization form

 contains so-called “extraneous information,” but he has not — and cannot — show

 that any of the “extraneous information” actually renders the form unlawful. In his

 Opposition, Plaintiff for the first time listed items he contends are unlawful

 “extraneous information” included in the disclosure and authorization form. Doc.

 43, p. 2-3. Other than listing his own personal opinion that they are “extraneous,”

 however, Plaintiff failed to provide any specific case law or other support from any

 source whatsoever for his position that these items are, in fact, “extraneous” and

 unlawful. Id.



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           Contrary to Plaintiff’s conclusory assertions, numerous courts and the

 Federal Trade Commission (“FTC”) have found that disclosure forms with some

 extraneous information do not violate the FCRA.                          See Doc. 36, p. 17-18.

 Furthermore, courts have specifically rejected arguments that the type of

 information challenged by Plaintiff here renders an FCRA disclosure unlawful:

                 1.Courts and the FTC have found that an explanation of what a
 consumer report is and the process in which consumer reports are procured and
 compiled does not violate the FCRA.8

                 2.  This Court and others have held that including information
 about the content of a consumer report, a consumer’s right to request and dispute
 the report, and the companies generating the report is not unlawful.9


 8
   See Burghy v. Dayton Racquet Club, Inc., 695 F. Supp. 2d 689, 699-700 (S.D. Ohio 2010) ("[i]ncluding
 the explanatory language alongside the disclosure language is logical, given their relationship, and the
 Court cannot conclude that the presence of the former renders the latter inconspicuous."); Federal Trade
 Commission 40 YEARS OF EXPERIENCE WITH THE FAIR CREDIT REPORTING ACT, 2011 WL
 3020575, at *44 (July 2011) (noting that a stand-alone disclosure and authorization form "may include a
 brief description of the nature of the consumer reports covered"); Federal Trade Commission Staff
 Opinion Letter to Kenneth M. Willner (March 25, 1999), 1999 WL 33932153, at *2 (noting that a
 paragraph explaining what a consumer report is and how they are compiled would not violate the stand
 alone disclosure requirement as "[t]he first sentence (the general consumer report disclosure for
 employers) sets forth the disclosure without elaboration, and the second and third sentences (the initial
 investigative consumer report disclosure) are sufficiently brief and in accord with the first sentence that
 we would consider it as emphasizing the [first] disclosure, and thus be permissible under that
 section"); Federal Trade Commission Staff Opinion Letter to Karen Coffey (February 11, 1998), 1998
 WL 34323748, at *2 ("some additional information, such as a brief description of the nature of the
 consumer reports covered by the disclosure, may be included if the information does not confuse the
 consumer or detract from the mandated disclosure").
 9
   See Reed v. CRST Van Expedited, Inc., No. 8:17-CV-199-T-27TBM, 2017 WL 5633153, at *3 (M.D.
 Fla. Nov. 20, 2017) (J. Whittemore) (granting defendant's motion to dismiss and holding that disclosure
 form was lawful under FCRA where the form "include[d] information about the content of the consumer
 report, his right to request a copy of and dispute the report, and the companies potentially generating the
 report" and "provide[d] that Defendant would provide additional notices" and "d[id] not include blanket
 authorizations to release information, waivers of rights, or extraneous information about state laws" but
 instead notified plaintiff that "the state law notices and authorizations are included in separate pages");
 Newton v. Bank of Am., 2015 WL 10435907, at *5–6 (C.D. Cal. May 12, 2015); Tauriainen v. Great
 Lakes Wine & Spirits, LLC, No. 2:15-CV-12789, 2015 WL 12698403, at *2 (E.D. Mich. Dec. 31, 2015)
 ("It is unreasonable to believe that a consumer would be distracted from a background check disclosure


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                 3. Courts have held that inclusion of certain disclosures required
 by state laws does not make an FCRA disclosure form unlawful.10

           The FCRA disclosure and authorization form here does not include the type

 of information – waivers, releases, etc. – courts have found impermissible. Nor

 does it contain any of the information the Federal Trade Commission stated would

 be improper.11 Accordingly, Plaintiff has not and cannot show that the items he

 challenges as “extraneous” are unlawful under the FCRA.                           Because Plaintiff

 cannot show ADS’s disclosure and authorization form was unlawful, dismissal of

 Counts I and II with prejudice is proper.

           IV.   ADS Did Not Act Willfully.

           Even assuming, arguendo, Plaintiff could show ADS’s disclosure and

 authorization form contained unlawful extraneous information (he cannot),

 Plaintiff seeks only statutory damages for Counts I and II and therefore must prove

 that ADS “willfully fail[ed] to comply” with the FCRA. See 15 U.S.C. § 1681.

 However, there can be no willfulness if ADS’s conduct, “albeit erroneous, was not


 listing the wrong company name before the consumer has any idea that it is not the company that will be
 used.").
 10
    See Noori v. Vivint, Inc., No. CV 16-5491 PA (FFMX), 2016 WL 9083368, at *5 (C.D. Cal. Sept. 6,
 2016) (granting defendant's motion to dismiss and holding that "the inclusion in the Disclosure Notice of
 information concerning an applicant's rights under state laws related to the procurement of a consumer
 report, and ability to view a copy of such a report, does not, under the Court's reading of [the FCRA],
 violate the FCRA's requirement that the disclosure be clear and conspicuous and be contained in a
 document that consists solely of the disclosure, that a consumer report may be obtained for employment
 purposes.") (internal citations omitted).
 11
    Federal Trade Commission, Background checks on prospective employees: Keep required disclosures
 simple,    April   28,   2017,    available   at    https://www.ftc.gov/news-events/blogs/business-
 blog/2017/04/background-checks-prospective-employees-keep-required.


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 objectively unreasonable.”12 Here, Plaintiff does not dispute in any meaningful

 way that ADS’s interpretation of the FCRA is affirmatively supported by the

 courts and the Federal Trade Commission. Compare Doc. 36, p. 18-19 with Doc.

 43, p. 16-18.

           Rather, Plaintiff contends that willfulness cannot be resolved at this stage

 because ADS must introduce evidence that it actually interpreted the FCRA. See

 Doc. 43, p. 16-18. He is wrong.                 What matters under Safeco’s “objectively

 unreasonable” test is “the text of the Act and authoritative interpretations of that

 text . . .”13 The Eleventh Circuit has instructed that “subjective intent” is irrelevant

 when making this assessment.14                  Because ADS has demonstrated that its

 authorization and disclosure form was not “objectively” unreasonable based on

 guidance from the courts and the Federal Trade Commission, there can be no

 willfulness here as a matter of law. Accordingly, Counts I and II should be

 dismissed with prejudice.




 12
      Safeco, 551 U.S. at 69 (emphasis added).
 13
      Safeco, 551 U.S. at 72.
 14
    Pedro v. Equifax, Inc., 868 F.3d 1275, 1280 (11th Cir. 2017); Levine v. World Financial Network Nat.
 Bank, 554 F.3d 1314 (11th Cir. 2017). That is why this Court and numerous other have decided that a
 defendant did not willfully violate the FCRA as a matter of law at the motion to dismiss stage. See
 Schoebel v. Am. Integrity Ins. Co. of Fla., 2015 WL 3407895, at *8 (M.D. Fla. May 27, 2015) (granting
 defendant’s motion to dismiss on plaintiff’s claims brought under the FCRA defendant did not act willful
 as a matter of law); King v. MovieTickets.com, Inc., 555 F. Supp. 2d 1339, 1342-43 (S.D. Fla. 2008);
 Robles v. AMPAM Parks Mech., Inc., 2015 WL 1952311, at *5 (C.D. Cal. Apr. 28, 2015).


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           V.     Determination of Plaintiff’s Class Allegations Should be Stayed
                  Pending Resolution of This Dispositive Motion.

           The Court should determine this Motion before taking up Plaintiff’s now

 pending Motion for Class Certification. See Doc. 37. If the Court concludes

 Plaintiff lacks standing, the class certification motion is obviously moot. But as set

 forth above, if the Court determines that Plaintiff has standing to pursue his claims

 because he was allegedly “confused” by ADS’s FCRA disclosure form,

 individualized inquiries will be necessary to determine whether each putative Rule

 23 class member likewise was “confused” and has standing to pursue his or her

 claims.15 Therefore, a conclusion that Plaintiff’s “confusion” allegations confer

 individualized standing would make class certification improper.

                                       CONCLUSION
           For the foregoing reasons, as well as other reasons set forth in ADS’s

 Motion for Judgment on the Pleadings, ADS respectfully requests that the Court

 dismiss Counts I, II, and portions of Counts III of Plaintiff’s Amended Complaint

 with prejudice and stay the case pending resolution of this Motion.

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 15
      See Branch, 323 F.R.D. 551–52.


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